                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE MIDDLE DISTRICT OF ALABAMA

IN RE:                                                    Case No. 13-32290-DHW
                                                          Chapter 13
HARRY HALL III
SSAN: XXX-XX-4052

CYNTHIA HALL
SSAN: XXX-XX-0867

                           Debtor (s)

PURSUANT TO LBR 3007-1, THE COURT WILL TAKE THIS OBJECTION UNDER ADVISEMENT AND RULE,
WITHOUT FURTHER NOTICE OR HEARING, UNLESS THE CLAIMANT FILES WITH THE COURT, WITH
SERVICE UPON THE OBJECTING PARTY, A RESPONSE WITHIN 30 DAYS OF SERVICE OF THIS OBJECTION.

                                  TRUSTEE'S OBJECTION TO CLAIM
    COMES NOW, the Trustee in the above styled case, and objects to Court Claim #5 of Ocwen Loan
Servicing Llc. As grounds for said objection, the Trustee states as follows:


             The debtor’s motion to incur debt and allow the debtor to enter into a
             mortgage loan modification agreement was granted by this Honorable Court
             on 04/15/2014. As a result, the account would have been brought current,
             the debt paid outside the Chapter 13 plan and the creditor’s claim is no
             longer due to be paid through the chapter 13 plan.

     WHEREFORE, the Trustee objects to the claim and moves this Honorable Court to reduce the claim
to the amount paid with a balance of zero.

    Respectfully submitted this Tuesday, 22 July, 2014.

Office of the Chapter 13 Trustee                            By: /s/ Curtis C. Reding
P.O. Box 173                                                    Curtis C. Reding
Montgomery, AL 36101-0173                                       Chapter 13 Trustee
Phone: (334)262-8371
Fax: (334)262-8599
email: Ch13Trustee@ch13mdal.com
                                        CERTIFICATE OF SERVICE
     I, the undersigned, hereby certify that I have served copies of the foregoing Trustee's Objection to
Claim of Ocwen Loan Servicing Llc on the parties listed below by either electronic mail or by placing same
in the U.S. Mail, postage prepaid and properly addressed this Tuesday, 22 July, 2014.



Copy to: DEBTOR(S)                                                           /s/ Curtis C. Reding
         OCWEN LOAN SERVICING LLC                                            Curtis C. Reding
         GAIL HUGHES DONALDSON                                               Chapter 13 Trustee




HARRY HALL III
CYNTHIA HALL
5820 CARMICHAEL RD
MONTGOMERY, AL 36117


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         OCWEN LOAN SERVICING LLC                                            Curtis C. Reding
         GAIL HUGHES DONALDSON                                               Chapter 13 Trustee




OCWEN LOAN SERVICING LLC
1661 WORTHINGTON RD STE 100
WEST PALM BEACH, FL 33409



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